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 1                                                INDEX
 2
     NUMBER          DATE        `
 3                               Internal email within Merchants, from Downs to Woehler, regarding
          1         5-3-2018     the status of Shirley Dickerson’s debt.
 4
                   6-4-2018 to   Copy of Jason Woehler’s Outlook Calendar for June 2018 through
 5        2         8-31-2018    August 2018.
                                 Internal email within Merchants, from Arrasmith to Woehler,
 6        3        7-26-2018     regarding the status of Shirley Dickerson’s debt
                                 Internal email within Merchants, with multiple persons, regarding
 7                               the status of Shirley Dickerson’s debt.
          4        7-26-2018
 8                               Email between Woehler and Dickmeyer requesting Dickmeyer’s
          5         8-3-2018     assistance in the matter.
 9                               Email between Woehler and Dickmeyer authorizing Dickmeyer take
          6         8-9-2018     steps to resolve the matter.
10                               Email from Woehler to Dickmeyer asking if Dickmeyer has
          7        8-21-2018     contacted Christina Henry.
11
                                 Email from Dickmeyer to Woehler regarding Dickemeyer’s
12        8        8-21-2018     communications with attorney Henry.
                                 Internal email within Merchants, with multiple persons, regarding
13        9        8-29-2018     the status of Shirley Dickerson’s debt.
                                 E-mail between Dickmeyer and various persons at Merchants
14
         10         9-7-2018     regarding 2012 email exchange related to status of Dickerson’s debt.
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     MERCHANTS CREDIT CORPORATION’S
     DECLARATION PURSUANT TO FED.R.EVID. 803(6)
     AND 902(11) BY JASON WOEHLER - 2
     6449357.doc


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 1                                    CERTIFICATE OF SERVICE
 2            I hereby certify that on the date provided at the signature below, I electronically filed
 3   the preceding document with the Clerk of the Court using the CM/ECF system, which will send
 4   notification of such filing to the following individual(s):
 5
              Christina L. Henry            chenry@hdm-legal.com
 6
              James E. Dickmeyer            jim@jdlaw.net
 7
              I certify under penalty of perjury under the laws of the United States of America that the
 8
     foregoing is true and correct to the best of my knowledge.
 9
              DATED this 21st day of November, 2018.
10
                                                    LEE SMART, P.S., INC.
11

12                                                  By: /s Marc Rosenberg __________________
                                                        Marc Rosenberg, WSBA No. 31034
13                                                      Of Attorneys for
                                                        Merchants Credit Corporation
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     MERCHANTS CREDIT CORPORATION’S
     DECLARATION PURSUANT TO FED.R.EVID. 803(6)
     AND 902(11) BY JASON WOEHLER - 3
     6449357.doc


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